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                EXHIBIT 1
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13
                       IN THE UNITED STATES DISTRICT COURT
14
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
                                      WESTERN DIVISION
16
17                                             )
      UNITED STATES OF AMERICA,                )         Civ. No. 09-02605 PA (FMOx)
18                                             )
             Plaintiff,                        )
19                                             )
      v.                                       )         STIPULATED JUDGMENT
20                                             )         AND ORDER FOR
                                               )         PERMANENT
21    DIRECTV, Inc., a California Corporation; )         INJUNCTION AGAINST
                                               )         DIRECTV, INC.
22    VOICECAST SYSTEMS, INC., also d/b/a )
      INTOUCH SOLUTIONS, an Illinois           )
23    Corporation                              )
                                               )
24    MICHAEL KURTZ, individually and as an )
      officer of Voicecast Systems, Inc.       )
25                                             )
      KEYVAN SAEDI, individually and as an )
26    officer of Voicecast Systems, Inc.,      )
                                               )
27           Defendants.                       )
                                               )
28

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 1          Plaintiff, the United States of America, acting upon notification and
 2 authorization to the Attorney General by the Federal Trade Commission (“FTC” or
 3 “Commission”), commenced this action by filing the complaint herein, and
 4 Defendant DIRECTV, Inc. (“DIRECTV”) has waived service of the summons and
 5 the complaint. The parties, represented by attorneys whose names appear
 6 hereafter, have agreed to settlement of this action.
 7          THEREFORE, on the joint motion of the parties, it is hereby ORDERED,
 8 ADJUDGED, AND DECREED as follows:
 9                                         FINDINGS
10          1.     This Court has jurisdiction over the subject matter pursuant to
11 28 U.S.C. §§ 1331, 1337(a), 1345, and 1355 and 15 U.S.C. §§ 45(m)(1)(A), 53(b),
12 56(a), and 57b.
13          2.     Plaintiff and DIRECTV consent to jurisdiction and venue in this
14 District.
15          3.     The activities of DIRECTV are in or affecting commerce, as defined
16 in Section 4 of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. § 44.
17          4.     The complaint states a claim upon which relief can be granted against
18 DIRECTV, under Sections 5(a), 5(m)(1)(a), 13(b) and 19 of the FTC Act,
19 15 U.S.C. §§ 45(a), 45(m)(1)(a), 53(b), and 57(b).
20          5.     DIRECTV hereby waives all rights to appeal or otherwise challenge
21 or contest the validity of this Order.
22          6.     DIRECTV agrees that this Order does not entitle it to seek or obtain
23 attorneys’ fees as a prevailing party under the Equal Access to Justice Act,
24 28 U.S.C. § 2412, and it further waives any rights to attorneys’ fees that may arise
25 under said provision of law.
26          7.     Entry of this Order is in the public interest.
27                                      DEFINITIONS
28          For purposes of this Order, the following definitions shall apply:
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 1          1.     “Authorized Marketer” means a business or other entity with whom
 2 DIRECTV has entered into an agreement authorizing the solicitation of DIRECTV
 3 goods or services.
 4          2.     “Authorized Telemarketer” means a person that has received express,
 5 written authorization from DIRECTV to use telemarketing to market DIRECTV
 6 goods or services.
 7          3.     “Customer” means any person who is or may be required to pay for
 8 goods or services offered through telemarketing.
 9          4.     “Defendant” or “DIRECTV” means DIRECTV, Inc. and its
10 successors and assigns.
11          5.     “DIRECTV goods or services” means satellite programming and all
12 other goods or services.
13          6.     “Established business relationship” means a relationship between the
14 seller and a person based on: (a) the person’s purchase, rental, or lease of the
15 seller’s goods or services or a financial transaction between the person and seller,
16 within the eighteen (18) months immediately preceding the date of the
17 telemarketing call; or (b) the person’s inquiry or application regarding a product or
18 service offered by the seller, within the three months immediately preceding the
19 date of a telemarketing call.
20          7.     “National Do Not Call Registry” means the National Do Not Call
21 Registry maintained by the Federal Trade Commission pursuant to 16 C.F.R.
22 § 310.4(b)(1)(iii)(B).
23          8.     “Outbound telephone call” means a telephone call initiated by a
24 telemarketer to induce the purchase of goods or services or to solicit a charitable
25 contribution.
26          9.     “Person” means any individual, group, unincorporated association,
27 limited or general partnership, corporation, or other business entity.
28

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 1          10.    “Prior Injunction” means the Stipulated Judgment and Order for
 2 Permanent Injunction Against DIRECTV, Inc., entered on December 14, 2005 in
 3 United States v. DIRECTV, Inc., et al., Civ. No. SACV05-1211 DOC (C.D. Cal.).
 4          11.    “Seller” means any person who, in connection with a telemarketing
 5 transaction, provides, offers to provide, or arranges for others to provide goods or
 6 services to the customer in exchange for consideration, whether or not such person
 7 is under the jurisdiction of the Federal Trade Commission.
 8          12.    “Telemarketer” means any person who, in connection with
 9 telemarketing, initiates or receives telephone calls to or from a customer or donor.
10          13.    “Telemarketing” means a plan, program, or campaign which is
11 conducted to induce the purchase of goods or services or a charitable contribution,
12 by use of one or more telephones and which involves more than one interstate
13 telephone call. The term does not include the solicitation of sales through the
14 mailing of a catalog which: contains a written description or illustration of the
15 goods or services offered for sale; includes the business address of the seller;
16 includes multiple pages of written material or illustrations; and has been issued not
17 less frequently than once a year, when the person making the solicitation does not
18 solicit customers by telephone but only receives calls initiated by customers in
19 response to the catalog and during those calls takes orders only without further
20 solicitation. For purposes of the previous sentence, the term “further solicitation”
21 does not include providing the customer with information about, or attempting to
22 sell, any other item included in the same catalog which prompted the customer’s
23 call or in a substantially similar catalog.
24          14.    The “Telemarketing Sales Rule” or “Rule” means the FTC Rule
25 entitled “Telemarketing Sales Rule,” 16 C.F.R. § 310, attached hereto as Appendix
26 A, or as it may be amended.
27
28

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 1                                           ORDER
 2               I. PROHIBITION AGAINST AN ABUSIVE PATTERN OF
 3                              TELEMARKETING CALLS
 4          IT IS HEREBY ORDERED that, in connection with telemarketing,
 5 DIRECTV and its officers, agents, servants, employees, and all those persons in
 6 active concert or participation with them who receive actual notice of this Order
 7 by personal service or otherwise, whether acting directly or indirectly through
 8 Authorized Telemarketers, are hereby permanently restrained and enjoined from
 9 engaging in or assisting others in engaging in violations of the Telemarketing
10 Sales Rule, including but not limited to:
11          A.     Initiating any outbound telephone call to a person when:
12                 1.    that person previously has stated to DIRECTV or an
13                       Authorized Telemarketer that he or she does not wish to
14                       receive an outbound telephone call made by or on behalf of
15                       DIRECTV, unless the provisions of 16 C.F.R. § 310.4(b)(3)
16                       (the Telemarketing Sales Rule Do Not Call safe harbor) are
17                       met;
18                 2.    that person’s telephone number is on the National Do Not Call
19                       Registry, unless:
20                       a.     DIRECTV has obtained the express agreement, in
21                              writing, of such person to place calls to that person,
22                              clearly evidencing such person’s authorization that calls
23                              made by or on behalf of DIRECTV may be placed to that
24                              person, and including the telephone number to which the
25                              calls may be placed and the signature of that person; or
26                       b.     DIRECTV has an established business relationship with
27                              such person, and that person has not stated to DIRECTV
28                              or an Authorized Telemarketer that he or she does not
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 1                              wish to receive outbound telephone calls pursuant to
 2                              § 310.4(b)(1)(iii)(A) of the Telemarketing Sales Rule; or
 3                       c.     The provisions of 16 C.F.R. § 310.4(b)(3) (the
 4                              Telemarketing Sales Rule Do Not Call safe harbor) are
 5                              met.
 6          B.     Abandoning any outbound telephone call to a person by failing to
 7                 connect the call to a representative within two (2) seconds of the
 8                 person’s completed greeting, unless the following four (4) conditions
 9                 are met:
10                 1.    DIRECTV or an Authorized Telemarketer employs technology
11                       that ensures abandonment of no more than three (3) percent of
12                       all calls answered by a person, measured per day per calling
13                       campaign;
14                 2.    DIRECTV or an Authorized Telemarketer, for each
15                       telemarketing call placed, allows the telephone to ring for at
16                       least fifteen (15) seconds or four (4) rings before
17                       disconnecting;
18                 3.    Whenever a representative is not available to speak with the
19                       person answering the call within two (2) seconds after the
20                       person’s completed greeting, DIRECTV or an Authorized
21                       Telemarketer promptly plays a recorded message that states the
22                       name and telephone number of the seller on whose behalf the
23                       call was placed; and
24                 4.    DIRECTV or an Authorized Telemarketer retains records, in
25                       accordance with 16 C.F.R. § 310.5(b)-(d), establishing
26                       compliance with the preceding three conditions.
27          C.     Initiating any outbound telephone call that delivers a prerecorded
28                 message, other than a prerecorded message permitted for compliance
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 1                 with the call abandonment safe harbor in 16 C.F.R. § 310.4(b)(4)(iii),
 2                 except as allowed by the provisions of 16 C.F.R. § 310.4(b)(1)(v).
 3          D.     If the Commission amends the Telemarketing Sales Rule, in whole or
 4                 part, DIRECTV and its Authorized Telemarketers shall, in connection
 5                 with telemarketing DIRECTV goods or services, comply fully and
 6                 completely with all applicable requirements of the amended Rule, on
 7                 and after the effective date of any such amended Rule.
 8            II. MONITORING OF AUTHORIZED TELEMARKETERS
 9          IT IS FURTHER ORDERED that DIRECTV and its officers, agents,
10 servants, employees, and all those persons in active concert or participation with
11 them who receive actual notice of this Order by personal service or otherwise, are
12 hereby permanently restrained and enjoined from:
13          A.     Failing to conduct a reasonable due diligence investigation of a
14                 person before making the person an Authorized Telemarketer, to
15                 ensure that the person has established and actively enforces effective
16                 policies and procedures for compliance with the Telemarketing Sales
17                 Rule, including procedures to prevent the initiation of outbound
18                 telemarketing calls to numbers on the National Do Not Call Registry,
19                 in violation of 16 C.F.R.§ 310.4(b)(1)(iii), and to prevent call
20                 abandonment, in violation of § 310.4(b)(1)(iv).
21          B.     Failing to have a written contract with each Authorized Telemarketer.
22          C.     Failing to include, in the written contract with each Authorized
23                 Telemarketer, requirements that the Authorized Telemarketer comply
24                 with all provisions of the Telemarketing Sales Rule, including, but
25                 not limited to, § 310.4 (b)(1)(iii) and (iv).
26          D.     Failing to monitor outbound telemarketing campaigns conducted by
27                 an Authorized Telemarketer to determine whether:
28

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 1                 1.    Any telemarketing call is placed only to a telephone number
 2                       that is –
 3                       a.     not on the National Do Not Call Registry and not on an
 4                              individual do not call list maintained by DIRECTV or
 5                              any of its Authorized Telemarketers; or
 6                       b.     on the National Do Not Call Registry, provided that the
 7                              customer either has given his or her express agreement in
 8                              writing to receive telemarketing calls at that number, or
 9                              has an established business relationship with DIRECTV.
10                 2.    Not more than three percent (3%) of telemarketing calls
11                       answered by a person, measured per day per calling campaign,
12                       are being connected to a prerecorded message in lieu of a live
13                       sales representative, pursuant to 16 C.F.R. §§ 310.4(b)(1)(iv)
14                       and 310.4(b)(4).
15          E.     Providing any monetary compensation for any telemarketing related
16                 sales or activities, including but not limited to hourly rates of pay or
17                 commissions, to any Authorized Telemarketer after DIRECTV knows
18                 or reasonably should have known that such Authorized Telemarketer
19                 has, in connection with telemarketing DIRECTV goods and services;
20                 1.    failed to fulfill contract requirements with respect to
21                       compliance with the Telemarketing Sales Rule; or
22                 2.    violated the Telemarketing Sales Rule.
23          F.     Continuing to do business with any Authorized Telemarketer that
24                 fails to fulfill contract requirements with respect to compliance with
25                 the Telemarketing Sales Rule, or violates any provision of the
26                 Telemarketing Sales Rule. Provided, however, that this Paragraph
27                 does not prohibit DIRECTV from entering into a subscription
28                 agreement with a consumer who was called by an Authorized
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 1                Telemarketer that: fails to fulfill contract requirements with respect
 2                to compliance with the Telemarketing Sales Rule, violates any
 3                provision of the Telemarketing Sales Rule, or fails to comply with
 4                Paragraph I of this Order.
 5              III. MONITORING OF AUTHORIZED MARKETERS
 6         IT IS FURTHER ORDERED that DIRECTV and its officers, agents,
 7 servants, employees, and all those persons in active concert or participation with
 8 them who receive actual notice of this Order by personal service or otherwise, are
 9 hereby permanently restrained and enjoined from:
10         A.     Failing to monitor Authorized Marketers to determine whether they
11                are initiating contact with consumers through outbound telephone
12                calls to telemarket DIRECTV goods or services; and
13         B.     Doing business with any Authorized Marketer and providing any
14                monetary compensation, including but not limited to hourly rates of
15                pay or commissions, to any Authorized Marketer who DIRECTV
16                knows or should know engages in the following conduct:
17                1.    initiating contact with consumers through outbound telephone
18                      calls to telemarket DIRECTV goods or services without
19                      express, written authorization from DIRECTV; or
20                2.    entering into any type of agreement with any other person to
21                      initiate contact with consumers through outbound telephone
22                      calls to telemarket DIRECTV goods or services. Provided,
23                      however, this Paragraph does not prohibit DIRECTV from
24                      entering into a subscription agreement with a consumer who
25                      was called in violation of the Telemarketing Sales Rule, or by a
26                      person who has engaged in any of the conduct described in
27                      subparagraph B of this Paragraph of this Order.
28

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 1                         IV. ADDITIONAL MONITORING
 2         IT IS FURTHER ORDERED that DIRECTV and its officers, agents,
 3 servants, employees, and all those persons in active concert or participation with
 4 them who receive actual notice of this Order by personal service or otherwise, are
 5 hereby permanently restrained and enjoined from failing to take the following
 6 actions with regard to Authorized Telemarketers and Authorized Marketers:
 7         A.     DIRECTV shall develop, implement, adequately staff, and
 8                continuously operate and maintain, a system to receive and retain
 9                complaints related to telemarketing of DIRECTV goods and services
10                that are received by telephone, mail, and e-mail. DIRECTV shall take
11                all reasonable steps to obtain, record, retain, and make easily
12                accessible to DIRECTV and, upon reasonable request, the FTC, all
13                relevant information regarding all complaints relating to
14                telemarketing of DIRECTV goods or services, including but not
15                limited to: (1) the consumer’s name, address, and telephone number;
16                (2) the substance of the complaint, including the name of any person
17                referenced; (3) the nature and result of any investigation conducted
18                concerning the complaint; (4) each response to the complaint and the
19                date of such response to the complaint; (5) any final resolution of the
20                complaint, and the date of such resolution; (6) in the event of a denial
21                of any resolution, the reason for the denial; (7) the name, telephone
22                number, and address of the Authorized Telemarketer or Authorized
23                Marketer which made the call that was the basis for the complaint; (8)
24                the date of the call; and (9) any relevant information for determining
25                whether a violation of the Telemarketing Sales Rule has occurred.
26                The system for complaints related to telemarketing shall be capable of
27                producing and shall produce monthly reports that show (1) the
28                aggregate number of complaints relating to telemarketing, (2) the
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 1                total number and type of telemarketing complaints for each
 2                Authorized Telemarketer, and (3) the total number and type of
 3                telemarketing complaints for each Authorized Marketer.
 4         B.     DIRECTV shall promptly investigate each consumer complaint
 5                relating to telemarketing or the Telemarketing Sales Rule and shall
 6                take all reasonable steps to identify the person whose activities
 7                prompted the complaint.
 8              V. PROHIBITION ON ASSISTING AND FACILITATING
 9         IT IS FURTHER ORDERED that DIRECTV and its officers, agents,
10 servants, employees, and all those persons in active concert or participation with
11 them who receive actual notice of this Order by personal service or otherwise, are
12 hereby permanently restrained and enjoined from providing substantial assistance
13 and support to any telemarketer when DIRECTV knows or consciously avoids
14 knowing that the telemarketer is engaged in one or more violations of the
15 Telemarketing Sales Rule.
16                                   VI. CIVIL PENALTY
17         IT IS HEREBY ORDERED that judgment in the amount of two million,
18 three hundred and ten thousand dollars ($2,310,000.00) is hereby entered against
19 DIRECTV as a civil penalty pursuant to Section 5(m)(1)(A) of the FTC Act, 15
20 U.S.C. § 45(m)(1)(A).
21         A.     Within five (5) days of receipt of notice of entry of this Order,
22                DIRECTV shall transfer the civil penalty payment in the form of a
23                wire transfer or certified or cashier’s check made payable to the
24                Treasurer of the United States. The check or written confirmation of
25                the wire transfer shall be delivered to: Director, Office of Consumer
26                Litigation, U.S. Department of Justice Civil Division, P.O. Box 386,
27                Washington, DC 20044. The cover letter accompanying the check
28

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 1                shall include the title of this litigation and a reference to DJ 102-3542.
 2         B.     In the event of default on the payment required to be made by this
 3                Paragraph, the entire unpaid civil penalty, together with interest
 4                computed under 21 U.S.C. § 1961 – accrued from the date of default
 5                until the date of payment – shall be immediately due and payable.
 6         C.     DIRECTV shall cooperate fully with Plaintiff and the Commission
 7                and their agents in all attempts to collect the amount due pursuant to
 8                this Paragraph if DIRECTV fails to pay fully the amount due at the
 9                time specified herein. In such an event, DIRECTV agrees to provide
10                Plaintiff and the Commission with their federal and state tax returns
11                for the preceding two years, and to complete standard financial
12                disclosure forms fully and accurately within ten (10) business days of
13                receiving a request from Plaintiff or the Commission to do so.
14                DIRECTV further authorizes Plaintiff and the Commission to verify
15                all information provided on its financial disclosure forms with all
16                appropriate third parties, including but not limited to financial
17                institutions.
18         D.     In accordance with 31 U.S.C. § 7701, DIRECTV is hereby required,
19                unless it has done so already, to furnish to Plaintiff and the FTC with
20                its taxpayer identification number (employer identification number),
21                which shall be used for purposes of collecting and reporting on any
22                delinquent amount arising out of DIRECTV’s relationship with the
23                government.
24         E.     Defendant relinquishes all dominion, control, and title to the funds
25                paid to the fullest extent permitted by law. Defendant shall make no
26                claim to nor demand return of the funds, directly or indirectly,
27                through counsel or otherwise.
28

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 1         F.     This judgment represents a civil penalty owed to the United States
 2                Government, is not compensation for actual pecuniary loss, and,
 3                therefore, is not subject to discharge under the Bankruptcy Code
 4                pursuant to 11 U.S.C. § 523(a)(7). DIRECTV agrees that the facts as
 5                alleged in the complaint filed in this action shall be taken as true,
 6                without further proof, in any subsequent civil litigation filed by or on
 7                behalf of the Commission to enforce its rights to any payment or
 8                money judgment pursuant to this Order.
 9         G.     Proceedings instituted under this Paragraph are in addition to, and not
10                in lieu of, any other civil or criminal remedies that may be provided
11                by law, including any other proceedings the Commission may initiate
12                to enforce this Order.
13                        VII. COMPLIANCE MONITORING
14         IT IS FURTHER ORDERED that, for the purpose of monitoring and
15 investigating compliance with any provision of this Order,
16         A.     Within thirty (30) days of receipt of written notice from a
17                representative of the Commission, DIRECTV shall submit additional
18                written reports, sworn to under penalty of perjury; produce documents
19                for inspection and copying; appear for deposition; and/or provide
20                entry during normal business hours to any business location in
21                DIRECTV’s possession or direct or indirect control to inspect the
22                business operation.
23         B.     In addition, the Commission is authorized to monitor compliance with
24                this Order by all other lawful means, including, but not limited to, the
25                following:
26                1.    obtaining discovery from any person, without further leave of
27                      court, using the procedures prescribed by Fed. R. Civ. P. 30,
28                      31, 33, 34, 36, and 45; and
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 1                2.    posing as consumers and suppliers to DIRECTV, its
 2                      employees, or any entity managed or controlled in whole or in
 3                      part by it, without the necessity of identification or prior notice.
 4         C.     DIRECTV shall permit representatives of the Commission to
 5                interview any employer, consultant, independent contractor,
 6                representative, agent, or employee who has agreed to such an
 7                interview, relating in any way to any conduct subject to this Order.
 8                The person interviewed may have counsel present.
 9         Provided, however, that nothing in this Order shall limit the Commission’s
10 lawful use of compulsory process, pursuant to Sections 9 and 20 of the FTC Act,
11 15 U.S.C. §§ 49, 57b-1, to obtain any documentary material, tangible things,
12 testimony, or information relevant to unfair or deceptive acts or practices in or
13 affecting commerce (within the meaning of 15 U.S.C. § 45(a)(1)).
14                         VIII. COMPLIANCE REPORTING
15         IT IS FURTHER ORDERED that, in order that compliance with the
16 provisions of this Order may be monitored:
17         A.     For a period of five (5) years from the date of entry of this Order,
18                DIRECTV shall notify the Commission of any changes in the
19                corporate structure of any business entity that it directly or indirectly
20                controls, or has an ownership interest in, that may affect compliance
21                obligations arising under this Order, including but not limited to a
22                dissolution, assignment, sale, merger, or other action that would result
23                in the emergence of a successor entity; the creation or dissolution of a
24                subsidiary, parent, or affiliate that engages in any acts or practices
25                subject to this Order; the filing of a bankruptcy petition; or a change
26                in the corporate name or address, at least thirty (30) days prior to such
27                change, provided that, with respect to any proposed change in a
28                corporation about which DIRECTV learns less than thirty (30) days
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 1                prior to the date such action is to take place, it shall notify the
 2                Commission as soon as is practicable after obtaining such knowledge.
 3         B.     One hundred eighty (180) days after the date of entry of this Order,
 4                DIRECTV shall provide a written report to the FTC, which is true and
 5                accurate and sworn to under penalty of perjury, setting forth in detail
 6                the manner and form in which it has complied and is complying with
 7                this Order. This report shall include, but not be limited to:
 8                1.    A copy of each acknowledgment of receipt of this Order,
 9                      obtained pursuant to the Section titled “Distribution of Order;”
10                2.    Any other changes required to be reported under Subsection A
11                      of this Paragraph;
12                3.    A list of the telephone numbers that DIRECTV or any
13                      Authorized Telemarketers used or uses in telemarketing since
14                      entry of this Order and the name and address of the phone
15                      company providing service, including any telephone number
16                      programmed to be transmitted for caller identification
17                      purposes;
18                4.    A list of all subscription account numbers DIRECTV or any
19                      Authorized Telemarketers have used, uses, or have obtained in
20                      connection with the National Do Not Call Registry since entry
21                      of this Order; and
22                5.    A list of all Authorized Telemarketers and Authorized
23                      Marketers, including the trade names and any other names
24                      under which, to DIRECTV’s knowledge, these entities do
25                      business.
26         C.     DIRECTV shall notify the Commission of its filing of a bankruptcy
27                petition within fifteen (15) days of filing.
28

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 1         D.     For the purposes of this Order, DIRECTV shall, unless otherwise
 2                directed by the Commission’s authorized representatives, send by
 3                overnight courier all reports and notifications required by this Order
 4                to the Commission, to the following address:
 5                      Associate Director for Enforcement
                        Federal Trade Commission
 6                      600 Pennsylvania Avenue, N.W., Room NJ-2122
                        Washington, D.C. 20580
 7                      RE: FTC v. DIRECTV
                  Provided that, in lieu of overnight courier, DIRECTV may send such
 8
                  reports or notifications by first-class mail, but only if it
 9
                  contemporaneously sends an electronic version of such report or
10
                  notification to the Commission at: DEBrief@ftc.gov.
11
           E.     For purposes of the compliance reporting and monitoring required by
12
                  this Order, the Commission is authorized to communicate directly
13
                  with DIRECTV.
14
                         IX. RECORD KEEPING PROVISIONS
15
           IT IS FURTHER ORDERED that, for a period of eight (8) years from the
16
     date of entry of this Order, DIRECTV and its officers, agents, servants,
17
     employees, and all those persons in active concert or participation with them who
18
     receive actual notice of this Order by personal service or otherwise, are hereby
19
     restrained and enjoined from failing to create and retain all records and documents
20
     necessary to demonstrate full compliance with each provision of this Order,
21
     including but not limited to, copies of acknowledgments of receipt of this Order
22
     required by the Sections titled “Distribution of Order” and “Acknowledgment of
23
     Receipt of Order” and all reports submitted to the FTC pursuant to the Section
24
     titled “Compliance Reporting.”
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 1                            X. DISTRIBUTION OF ORDER
 2         IT IS FURTHER ORDERED that, for a period of three (3) years from the
 3 date of entry of this Order, DIRECTV shall deliver copies of this Order as directed
 4 below:
 5         A.     DIRECTV must deliver a copy of this Order to all officers and
 6                directors. DIRECTV shall also deliver a copy of this Order to all of
 7                its employees who are responsible for telemarketing DIRECTV goods
 8                or services, handling telemarketing complaints, or maintaining
 9                records relating to telemarketing complaints or other telemarketing
10                activities. For the current officers, directors, and employees
11                described above, delivery of this Order shall be within five (5) days
12                of service of this Order on DIRECTV. For new personnel, delivery
13                shall occur prior to them assuming their responsibilities with
14                DIRECTV. For any business entity resulting from any change in
15                structure set forth in Paragraph VIII.A, delivery shall be at least ten
16                (10) days prior to the change in structure.
17         B.     DIRECTV must secure a signed and dated statement acknowledging
18                receipt of this Order, within thirty (30) days of delivery, from all
19                persons receiving a copy of this Order pursuant to this Paragraph.
20              XI. ACKNOWLEDGMENT OF RECEIPT OF ORDER
21         IT IS FURTHER ORDERED that DIRECTV, within five (5) business
22 days of receipt of this Order as entered by the Court, must submit to the
23 Commission a truthful sworn statement acknowledging receipt of this Order.
24                     XII.    EFFECT ON PRIOR INJUNCTION
25         IT IS FURTHER ORDERED that this Order supersedes the Prior
26 Injunction, except for Section VIII.C of the Prior Injunction, which shall remain in
27 full force and effect.
28

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 1                                XIII. FEES AND COSTS
 2         IT IS FURTHER ORDERED that each party to this Order hereby agrees
 3 to bear its own costs and attorneys’ fees incurred in connection with this action.
 4                   XIV. COOPERATION WITH FTC COUNSEL
 5         IT IS FURTHER ORDERED that DIRECTV shall, in connection with
 6 this action or any subsequent investigations related to or associated with the
 7 transactions or the occurrences that are the subject of the FTC’s complaint,
 8 cooperate in good faith with the FTC and appear at such places and times as the
 9 Commission shall reasonably request, after written notice, for interviews,
10 conferences, pretrial discovery, review of documents, and for such other matters as
11 may be reasonably requested by the FTC. If requested in writing by the
12 Commission, DIRECTV shall appear, or cause its officers, employees,
13 representatives, or agents to appear, and provide truthful testimony in any trial,
14 deposition, or other proceeding related to or associated with the transactions or the
15 occurrences that are the subject of the complaint, without the service of a
16 subpoena.
17                                   XV. SEVERABILITY
18         IT IS FURTHER ORDERED that the provisions of this Order are separate
19 and severable from one another. If any provision is stayed or determined to be
20 invalid, the remaining provisions shall remain in full force and effect.
21                     XVI.     RETENTION OF JURISDICTION
22         IT IS FURTHER ORDERED that this Court shall retain jurisdiction of
23 this matter for purposes of construction, modification, and enforcement of this
24 Order.
25                        XVII.      COMPLETE SETTLEMENT
26         The parties hereby consent to entry of the foregoing Order, which shall
27 constitute a final judgment and order in this matter. The parties further stipulate
28

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 1 and agree that the entry of the foregoing Order shall constitute a full, complete,
 2 and final settlement of this action.
 3 //
 4 //
 5 //
 6
 7 IT IS SO ORDERED, this ____ day of ______________, 2009.
 8
 9
10
                                     United States District Judge
11                                   Central District of California
12
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1     FOR THE COMMISSION:                             FOR THE DEFENDANTS:
2     JAMES A. KOHM,
      Associate Director for Enforcement
3     LAURA DEMARTINO,
      Assistant Director for Enforcement
4
5                                                     KIRKLAND & ELLIS, LLC
                                                      655 15tl’ St., N.W.
6                                                     Washington, DC 20005
                  j .@W i tN~’~H~,72~tt0mey           202-879-5000
7     ELSIE KAPPLER, Attorney                         202-879-5200 (fax)
      Federal Trade Commission                        mskubel@kirkland.com
8     Division of Enforcement
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9     Suite N J-2122
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10    202-326-2976 (Wilshire)
      202-326-2466 (Kappler)
11    202-326-2558 (fax)
      mwilshire@ftc.gov (Wilshire)                    DIRECTe7
12    ekappler@ftc.gov (Kappler)                      By: Larry D. Hunter
                                                      Executive Vice President and
13                                                    General Counsel of DIRECTV
14
      DAVID SHONKA
15    Acting General Counsel
16
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 1 FOR THE PLAINTIFF
      UNITED STATES OF AMERICA:
 2
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 3 Actinj)Assistant Attorney General
   Civil ivision
 4 United States Department of Justice
 5    THOMAS P. O'BRIEN
      United States Attorneri
 6    Central District of Ca ifornia
 7 LEE WEIDMAN
   Assistant United States Attorney
 8 Chief, Civil Division

 9
10
11    Astg: ant United States Attorney
      Chief, Civil Frauds Section
12    California State Bar No. 101233
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13    300 North Los Anfleles Street
      Los Angeles, Cali ornia 90012
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      FacsImile:     13 894-2380
15    E-mail: gary.plessman@usdoj.gov .
16
      EUGENE M. THIROLF
17    Director
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18
      KENNETH L. JOST
19 D~I?uty    Director
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27
28

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                                                                     Federal Trade Commission                                                                            § 310.1




                                                                     [60 FR 26955, May 19, 1995, as amended at 69 FR 55339, Sept. 14, 2004]



                                                                      PART 310—TELEMARKETING SALES                             310.8 Fee for access to the National Do Not
                                                                                                                                   Call Registry.
                                                                                  RULE                                         310.9 Severability.
                                                                                                                                 AUTHORITY: 15 U.S.C. 6101–6108.
                                                                     Sec.
                                                                     310.1 Scope of regulations in this part.                    SOURCE: 68 FR 4669, Jan. 29, 2003, unless
                                                                     310.2 Definitions.                                        otherwise noted.
                                                                     310.3 Deceptive telemarketing acts or prac-
                                                                         tices.                                                § 310.1 Scope of regulations in this
                                                                                                                                   part.
                                                                     310.4 Abusive telemarketing acts or prac-
                                                                         tices.                                                   This part implements the Tele-
                                                                     310.5 Recordkeeping requirements.                         marketing and Consumer Fraud and
cprice-sewell on PRODPC61 with CFR




                                                                     310.6 Exemptions.                                         Abuse Prevention Act, 15 U.S.C. 6101-
                                                                     310.7 Actions by states and private persons.              6108, as amended.

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                                                                     § 310.2                                                                 16 CFR Ch. I (1–1–09 Edition)

                                                                     § 310.2 Definitions.                                        (m) Donor means any person solicited
                                                                        (a) Acquirer means a business organi-                  to make a charitable contribution.
                                                                     zation, financial institution, or an                        (n) Established business relationship
                                                                     agent of a business organization or fi-                   means a relationship between a seller
                                                                     nancial institution that has authority                    and a consumer based on:
                                                                     from an organization that operates or                       (1) the consumer’s purchase, rental,
                                                                     licenses a credit card system to author-                  or lease of the seller’s goods or services
                                                                     ize merchants to accept, transmit, or                     or a financial transaction between the
                                                                     process payment by credit card                            consumer and seller, within the eight-
                                                                     through the credit card system for                        een (18) months immediately preceding
                                                                     money, goods or services, or anything                     the date of a telemarketing call; or
                                                                     else of value.                                              (2) the consumer’s inquiry or applica-
                                                                        (b) Attorney General means the chief                   tion regarding a product or service of-
                                                                     legal officer of a state.                                 fered by the seller, within the three (3)
                                                                        (c) Billing information means any data                 months immediately preceding the
                                                                     that enables any person to access a                       date of a telemarketing call.
                                                                     customer’s or donor’s account, such as                      (o) Free-to-pay conversion means, in
                                                                     a credit card, checking, savings, share                   an offer or agreement to sell or provide
                                                                     or similar account, utility bill, mort-                   any goods or services, a provision
                                                                     gage loan account, or debit card.                         under which a customer receives a
                                                                        (d) Caller identification service means a              product or service for free for an initial
                                                                     service that allows a telephone sub-                      period and will incur an obligation to
                                                                     scriber to have the telephone number,                     pay for the product or service if he or
                                                                     and, where available, name of the call-                   she does not take affirmative action to
                                                                     ing party transmitted contempora-                         cancel before the end of that period.
                                                                     neously with the telephone call, and
                                                                                                                                 (p) Investment opportunity means any-
                                                                     displayed on a device in or connected
                                                                                                                               thing, tangible or intangible, that is of-
                                                                     to the subscriber’s telephone.
                                                                                                                               fered, offered for sale, sold, or traded
                                                                        (e) Cardholder means a person to
                                                                                                                               based wholly or in part on representa-
                                                                     whom a credit card is issued or who is
                                                                                                                               tions, either express or implied, about
                                                                     authorized to use a credit card on be-
                                                                                                                               past, present, or future income, profit,
                                                                     half of or in addition to the person to
                                                                                                                               or appreciation.
                                                                     whom the credit card is issued.
                                                                        (f) Charitable contribution means any                    (q) Material means likely to affect a
                                                                     donation or gift of money or any other                    person’s choice of, or conduct regard-
                                                                     thing of value.                                           ing, goods or services or a charitable
                                                                        (g) Commission means the Federal                       contribution.
                                                                     Trade Commission.                                           (r) Merchant means a person who is
                                                                        (h) Credit means the right granted by                  authorized under a written contract
                                                                     a creditor to a debtor to defer payment                   with an acquirer to honor or accept
                                                                     of debt or to incur debt and defer its                    credit cards, or to transmit or process
                                                                     payment.                                                  for payment credit card payments, for
                                                                        (i) Credit card means any card, plate,                 the purchase of goods or services or a
                                                                     coupon book, or other credit device ex-                   charitable contribution.
                                                                     isting for the purpose of obtaining                         (s) Merchant agreement means a writ-
                                                                     money, property, labor, or services on                    ten contract between a merchant and
                                                                     credit.                                                   an acquirer to honor or accept credit
                                                                        (j) Credit card sales draft means any                  cards, or to transmit or process for
                                                                     record or evidence of a credit card                       payment credit card payments, for the
                                                                     transaction.                                              purchase of goods or services or a char-
                                                                        (k) Credit card system means any                       itable contribution.
                                                                     method or procedure used to process                         (t) Negative option feature means, in
                                                                     credit card transactions involving cred-                  an offer or agreement to sell or provide
                                                                     it cards issued or licensed by the oper-                  any goods or services, a provision
                                                                     ator of that system.                                      under which the customer’s silence or
                                                                        (l) Customer means any person who is                   failure to take an affirmative action to
                                                                     or may be required to pay for goods or                    reject goods or services or to cancel the
cprice-sewell on PRODPC61 with CFR




                                                                     services       offered     through      tele-             agreement is interpreted by the seller
                                                                     marketing.                                                as acceptance of the offer.

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                                                                     Federal Trade Commission                                                                            § 310.3

                                                                       (u) Outbound telephone call means a                     which: contains a written description
                                                                     telephone call initiated by a tele-                       or illustration of the goods or services
                                                                     marketer to induce the purchase of                        offered for sale; includes the business
                                                                     goods or services or to solicit a chari-                  address of the seller; includes multiple
                                                                     table contribution.                                       pages of written material or illustra-
                                                                       (v) Person means any individual,                        tions; and has been issued not less fre-
                                                                     group, unincorporated association, lim-                   quently than once a year, when the
                                                                     ited or general partnership, corpora-                     person making the solicitation does
                                                                     tion, or other business entity.                           not solicit customers by telephone but
                                                                       (w) Preacquired account information                     only receives calls initiated by cus-
                                                                     means any information that enables a                      tomers in response to the catalog and
                                                                     seller or telemarketer to cause a                         during those calls takes orders only
                                                                     charge to be placed against a cus-                        without further solicitation. For pur-
                                                                     tomer’s or donor’s account without ob-                    poses of the previous sentence, the
                                                                     taining the account number directly                       term ‘‘further solicitation’’ does not
                                                                     from the customer or donor during the                     include providing the customer with
                                                                     telemarketing transaction pursuant to                     information about, or attempting to
                                                                     which the account will be charged.                        sell, any other item included in the
                                                                       (x) Prize means anything offered, or                    same catalog which prompted the cus-
                                                                     purportedly offered, and given, or pur-                   tomer’s call or in a substantially simi-
                                                                     portedly given, to a person by chance.                    lar catalog.
                                                                     For purposes of this definition, chance                      (dd) Upselling means soliciting the
                                                                     exists if a person is guaranteed to re-                   purchase of goods or services following
                                                                     ceive an item and, at the time of the                     an initial transaction during a single
                                                                     offer or purported offer, the tele-                       telephone call. The upsell is a separate
                                                                     marketer does not identify the specific                   telemarketing transaction, not a con-
                                                                     item that the person will receive.                        tinuation of the initial transaction. An
                                                                       (y) Prize promotion means:                              ‘‘external upsell’’ is a solicitation
                                                                       (1) A sweepstakes or other game of                      made by or on behalf of a seller dif-
                                                                     chance; or                                                ferent from the seller in the initial
                                                                       (2) An oral or written express or im-                   transaction, regardless of whether the
                                                                     plied representation that a person has                    initial transaction and the subsequent
                                                                     won, has been selected to receive, or                     solicitation are made by the same tele-
                                                                     may be eligible to receive a prize or                     marketer. An ‘‘internal upsell’’ is a so-
                                                                     purported prize.                                          licitation made by or on behalf of the
                                                                       (z) Seller means any person who, in                     same seller as in the initial trans-
                                                                     connection with a telemarketing trans-                    action, regardless of whether the ini-
                                                                     action, provides, offers to provide, or                   tial transaction and subsequent solici-
                                                                     arranges for others to provide goods or                   tation are made by the same tele-
                                                                     services to the customer in exchange                      marketer.
                                                                     for consideration.
                                                                       (aa) State means any state of the                       § 310.3 Deceptive telemarketing acts or
                                                                     United States, the District of Colum-                         practices.
                                                                     bia, Puerto Rico, the Northern Mariana
                                                                                                                                 (a) Prohibited deceptive telemarketing
                                                                     Islands, and any territory or possession
                                                                                                                               acts or practices. It is a deceptive tele-
                                                                     of the United States.
                                                                                                                               marketing act or practice and a viola-
                                                                       (bb) Telemarketer means any person
                                                                                                                               tion of this Rule for any seller or tele-
                                                                     who, in connection with telemarketing,
                                                                                                                               marketer to engage in the following
                                                                     initiates or receives telephone calls to
                                                                                                                               conduct:
                                                                     or from a customer or donor.
                                                                                                                                 (1) Before a customer pays 1 for goods
                                                                       (cc) Telemarketing means a plan, pro-
                                                                                                                               or services offered, failing to disclose
                                                                     gram, or campaign which is conducted
                                                                     to induce the purchase of goods or serv-
                                                                                                                                  1 When a seller or telemarketer uses, or di-
                                                                     ices or a charitable contribution, by
                                                                                                                               rects a customer to use, a courier to trans-
                                                                     use of one or more telephones and                         port payment, the seller or telemarketer
                                                                     which involves more than one inter-                       must make the disclosures required by
                                                                     state telephone call. The term does not                   § 310.3(a)(1) before sending a courier to pick
cprice-sewell on PRODPC61 with CFR




                                                                     include the solicitation of sales                         up payment or authorization for payment, or
                                                                     through the mailing of a catalog                                                                    Continued


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                                                                     § 310.3                                                                 16 CFR Ch. I (1–1–09 Edition)

                                                                     truthfully, in a clear and conspicuous                    conditions of the negative option fea-
                                                                     manner, the following material infor-                     ture, including, but not limited to, the
                                                                     mation:                                                   fact that the customer’s account will
                                                                       (i) The total costs to purchase, re-                    be charged unless the customer takes
                                                                     ceive, or use, and the quantity of, any                   an affirmative action to avoid the
                                                                     goods or services that are the subject                    charge(s), the date(s) the charge(s) will
                                                                     of the sales offer; 2                                     be submitted for payment, and the spe-
                                                                       (ii) All material restrictions, limita-                 cific steps the customer must take to
                                                                     tions, or conditions to purchase, re-                     avoid the charge(s).
                                                                     ceive, or use the goods or services that                     (2) Misrepresenting, directly or by
                                                                     are the subject of the sales offer;                       implication, in the sale of goods or
                                                                       (iii) If the seller has a policy of not                 services any of the following material
                                                                     making refunds, cancellations, ex-                        information:
                                                                     changes, or repurchases, a statement
                                                                                                                                  (i) The total costs to purchase, re-
                                                                     informing the customer that this is the
                                                                                                                               ceive, or use, and the quantity of, any
                                                                     seller’s policy; or, if the seller or tele-
                                                                                                                               goods or services that are the subject
                                                                     marketer makes a representation
                                                                                                                               of a sales offer;
                                                                     about a refund, cancellation, exchange,
                                                                     or repurchase policy, a statement of all                     (ii) Any material restriction, limita-
                                                                     material terms and conditions of such                     tion, or condition to purchase, receive,
                                                                     policy;                                                   or use goods or services that are the
                                                                       (iv) In any prize promotion, the odds                   subject of a sales offer;
                                                                     of being able to receive the prize, and,                     (iii) Any material aspect of the per-
                                                                     if the odds are not calculable in ad-                     formance, efficacy, nature, or central
                                                                     vance, the factors used in calculating                    characteristics of goods or services
                                                                     the odds; that no purchase or payment                     that are the subject of a sales offer;
                                                                     is required to win a prize or to partici-                    (iv) Any material aspect of the na-
                                                                     pate in a prize promotion and that any                    ture or terms of the seller’s refund,
                                                                     purchase or payment will not increase                     cancellation, exchange, or repurchase
                                                                     the person’s chances of winning; and                      policies;
                                                                     the no-purchase/no-payment method of                         (v) Any material aspect of a prize
                                                                     participating in the prize promotion                      promotion including, but not limited
                                                                     with either instructions on how to par-                   to, the odds of being able to receive a
                                                                     ticipate or an address or local or toll-                  prize, the nature or value of a prize, or
                                                                     free telephone number to which cus-                       that a purchase or payment is required
                                                                     tomers may write or call for informa-                     to win a prize or to participate in a
                                                                     tion on how to participate;                               prize promotion;
                                                                       (v) All material costs or conditions                       (vi) Any material aspect of an invest-
                                                                     to receive or redeem a prize that is the                  ment opportunity including, but not
                                                                     subject of the prize promotion;                           limited to, risk, liquidity, earnings po-
                                                                       (vi) In the sale of any goods or serv-                  tential, or profitability;
                                                                     ices represented to protect, insure, or                      (vii) A seller’s or telemarketer’s af-
                                                                     otherwise limit a customer’s liability                    filiation with, or endorsement or spon-
                                                                     in the event of unauthorized use of the                   sorship by, any person or government
                                                                     customer’s credit card, the limits on a                   entity;
                                                                     cardholder’s liability for unauthorized                      (viii) That any customer needs of-
                                                                     use of a credit card pursuant to 15                       fered goods or services to provide pro-
                                                                     U.S.C. 1643; and                                          tections a customer already has pursu-
                                                                       (vii) If the offer includes a negative                  ant to 15 U.S.C. 1643; or
                                                                     option feature, all material terms and                       (ix) Any material aspect of a nega-
                                                                                                                               tive option feature including, but not
                                                                     directing a customer to have a courier pick               limited to, the fact that the customer’s
                                                                     up payment or authorization for payment.                  account will be charged unless the cus-
                                                                       2 For offers of consumer credit products
                                                                                                                               tomer takes an affirmative action to
                                                                     subject to the Truth in Lending Act, 15
                                                                     U.S.C. 1601 et seq., and Regulation Z, 12 CFR
                                                                                                                               avoid the charge(s), the date(s) the
                                                                     226, compliance with the disclosure require-              charge(s) will be submitted for pay-
                                                                     ments under the Truth in Lending Act and                  ment, and the specific steps the cus-
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                                                                     Regulation Z shall constitute compliance                  tomer must take to avoid the
                                                                     with § 310.3(a)(1)(i) of this Rule.                       charge(s).

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                                                  Stipulated Judgment - DIRECTV                             Appendix A, page 25

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                                                                     Federal Trade Commission                                                                            § 310.3

                                                                       (3) Causing billing information to be                      (F) A telephone number for customer
                                                                     submitted for payment, or collecting or                   or donor inquiry that is answered dur-
                                                                     attempting to collect payment for                         ing normal business hours; and
                                                                     goods or services or a charitable con-                       (G) The date of the customer’s or do-
                                                                     tribution, directly or indirectly, with-                  nor’s oral authorization; or
                                                                     out the customer’s or donor’s express                        (iii) Written confirmation of the
                                                                     verifiable authorization, except when                     transaction, identified in a clear and
                                                                     the method of payment used is a credit                    conspicuous manner as such on the
                                                                     card subject to protections of the                        outside of the envelope, sent to the
                                                                     Truth in Lending Act and Regulation                       customer or donor via first class mail
                                                                     Z, 3 or a debit card subject to the pro-                  prior to the submission for payment of
                                                                     tections of the Electronic Fund Trans-                    the customer’s or donor’s billing infor-
                                                                     fer Act and Regulation E. 4 Such au-                      mation, and that includes all of the in-
                                                                     thorization shall be deemed verifiable                    formation              contained            in
                                                                     if any of the following means is em-                      §§ 310.3(a)(3)(ii)(A)-(G) and a clear and
                                                                     ployed:                                                   conspicuous statement of the proce-
                                                                       (i) Express written authorization by                    dures by which the customer or donor
                                                                     the customer or donor, which includes                     can obtain a refund from the seller or
                                                                     the customer’s or donor’s signature; 5                    telemarketer or charitable organiza-
                                                                       (ii) Express oral authorization which                   tion in the event the confirmation is
                                                                     is audio-recorded and made available                      inaccurate; provided, however, that this
                                                                     upon request to the customer or donor,                    means of authorization shall not be
                                                                     and the customer’s or donor’s bank or                     deemed verifiable in instances in which
                                                                     other billing entity, and which evi-                      goods or services are offered in a trans-
                                                                     dences clearly both the customer’s or                     action involving a free-to-pay conver-
                                                                     donor’s authorization of payment for                      sion and preacquired account informa-
                                                                     the goods or services or charitable con-                  tion.
                                                                     tribution that are the subject of the                        (4) Making a false or misleading
                                                                     telemarketing transaction and the cus-                    statement to induce any person to pay
                                                                     tomer’s or donor’s receipt of all of the                  for goods or services or to induce a
                                                                     following information:                                    charitable contribution.
                                                                       (A) The number of debits, charges, or                      (b) Assisting and facilitating. It is a de-
                                                                     payments (if more than one);                              ceptive telemarketing act or practice
                                                                                                                               and a violation of this Rule for a per-
                                                                       (B)    The    date(s)   the   debit(s),
                                                                                                                               son to provide substantial assistance or
                                                                     charge(s), or payment(s) will be sub-
                                                                                                                               support to any seller or telemarketer
                                                                     mitted for payment;
                                                                                                                               when that person knows or consciously
                                                                       (C) The amount(s) of the debit(s),                      avoids knowing that the seller or tele-
                                                                     charge(s), or payment(s);                                 marketer is engaged in any act or prac-
                                                                       (D) The customer’s or donor’s name;                     tice that violates §§ 310.3(a), (c) or (d),
                                                                       (E) The customer’s or donor’s billing                   or § 310.4 of this Rule.
                                                                     information, identified with sufficient                      (c) Credit card laundering. Except as
                                                                     specificity such that the customer or                     expressly permitted by the applicable
                                                                     donor understands what account will                       credit card system, it is a deceptive
                                                                     be used to collect payment for the                        telemarketing act or practice and a
                                                                     goods or services or charitable con-                      violation of this Rule for:
                                                                     tribution that are the subject of the                        (1) A merchant to present to or de-
                                                                     telemarketing transaction;                                posit into, or cause another to present
                                                                                                                               to or deposit into, the credit card sys-
                                                                       3 Truth in Lending Act, 15 U.S.C. 1601 et               tem for payment, a credit card sales
                                                                     seq., and Regulation Z, 12 CFR part 226.                  draft generated by a telemarketing
                                                                       4 Electronic Fund Transfer Act, 15 U.S.C.
                                                                                                                               transaction that is not the result of a
                                                                     1693 et seq., and Regulation E, 12 CFR part               telemarketing credit card transaction
                                                                     205.                                                      between the cardholder and the mer-
                                                                       5 For purposes of this Rule, the term ‘‘sig-

                                                                     nature’’ shall include an electronic or digital
                                                                                                                               chant;
                                                                     form of signature, to the extent that such                   (2) Any person to employ, solicit, or
                                                                     form of signature is recognized as a valid sig-           otherwise cause a merchant, or an em-
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                                                                     nature under applicable federal law or state              ployee, representative, or agent of the
                                                                     contract law.                                             merchant, to present to or deposit into

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                                                                     § 310.4                                                                 16 CFR Ch. I (1–1–09 Edition)

                                                                     the credit card system for payment, a                     person’s credit history, credit record,
                                                                     credit card sales draft generated by a                    or credit rating until:
                                                                     telemarketing transaction that is not                       (i) The time frame in which the seller
                                                                     the result of a telemarketing credit                      has represented all of the goods or
                                                                     card transaction between the card-                        services will be provided to that person
                                                                     holder and the merchant; or                               has expired; and
                                                                        (3) Any person to obtain access to the                   (ii) The seller has provided the person
                                                                     credit card system through the use of a                   with documentation in the form of a
                                                                     business relationship or an affiliation                   consumer report from a consumer re-
                                                                     with a merchant, when such access is                      porting agency demonstrating that the
                                                                     not authorized by the merchant agree-                     promised results have been achieved,
                                                                     ment or the applicable credit card sys-                   such report having been issued more
                                                                     tem.                                                      than six months after the results were
                                                                        (d) Prohibited deceptive acts or prac-                 achieved. Nothing in this Rule should
                                                                     tices in the solicitation of charitable con-              be construed to affect the requirement
                                                                     tributions. It is a fraudulent charitable                 in the Fair Credit Reporting Act, 15
                                                                     solicitation, a deceptive telemarketing                   U.S.C. 1681, that a consumer report
                                                                     act or practice, and a violation of this                  may only be obtained for a specified
                                                                     Rule for any telemarketer soliciting                      permissible purpose;
                                                                     charitable contributions to misrepre-                       (3) Requesting or receiving payment
                                                                     sent, directly or by implication, any of                  of any fee or consideration from a per-
                                                                     the following material information:                       son for goods or services represented to
                                                                        (1) The nature, purpose, or mission of                 recover or otherwise assist in the re-
                                                                     any entity on behalf of which a chari-                    turn of money or any other item of
                                                                     table contribution is being requested;                    value paid for by, or promised to, that
                                                                        (2) That any charitable contribution                   person in a previous telemarketing
                                                                     is tax deductible in whole or in part;                    transaction, until seven (7) business
                                                                        (3) The purpose for which any chari-                   days after such money or other item is
                                                                     table contribution will be used;                          delivered to that person. This provision
                                                                        (4) The percentage or amount of any                    shall not apply to goods or services
                                                                     charitable contribution that will go to                   provided to a person by a licensed at-
                                                                     a charitable organization or to any                       torney;
                                                                     particular charitable program;                              (4) Requesting or receiving payment
                                                                        (5) Any material aspect of a prize                     of any fee or consideration in advance
                                                                     promotion including, but not limited                      of obtaining a loan or other extension
                                                                     to: the odds of being able to receive a                   of credit when the seller or tele-
                                                                     prize; the nature or value of a prize; or                 marketer has guaranteed or rep-
                                                                     that a charitable contribution is re-                     resented a high likelihood of success in
                                                                     quired to win a prize or to participate                   obtaining or arranging a loan or other
                                                                     in a prize promotion; or                                  extension of credit for a person;
                                                                        (6) A charitable organization’s or                       (5) Disclosing or receiving, for con-
                                                                     telemarketer’s affiliation with, or en-                   sideration, unencrypted consumer ac-
                                                                     dorsement or sponsorship by, any per-                     count numbers for use in tele-
                                                                     son or government entity.                                 marketing; provided, however, that this
                                                                                                                               paragraph shall not apply to the disclo-
                                                                     § 310.4 Abusive telemarketing acts or                     sure or receipt of a customer’s or do-
                                                                         practices.
                                                                                                                               nor’s billing information to process a
                                                                       (a) Abusive conduct generally. It is an                 payment for goods or services or a
                                                                     abusive telemarketing act or practice                     charitable contribution pursuant to a
                                                                     and a violation of this Rule for any                      transaction;
                                                                     seller or telemarketer to engage in the                     (6) Causing billing information to be
                                                                     following conduct:                                        submitted for payment, directly or in-
                                                                       (1) Threats, intimidation, or the use                   directly, without the express informed
                                                                     of profane or obscene language;                           consent of the customer or donor. In
                                                                       (2) Requesting or receiving payment                     any telemarketing transaction, the
                                                                     of any fee or consideration for goods or                  seller or telemarketer must obtain the
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                                                                     services represented to remove deroga-                    express informed consent of the cus-
                                                                     tory information from, or improve, a                      tomer or donor to be charged for the

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                                                                     Federal Trade Commission                                                                            § 310.4

                                                                     goods or services or charitable con-                      violation of this Rule for a tele-
                                                                     tribution and to be charged using the                     marketer to engage in, or for a seller
                                                                     identified account. In any tele-                          to cause a telemarketer to engage in,
                                                                     marketing       transaction        involving              the following conduct:
                                                                     preacquired account information, the                        (i) Causing any telephone to ring, or
                                                                     requirements in paragraphs (a)(6)(i)                      engaging any person in telephone con-
                                                                     through (ii) of this section must be met                  versation, repeatedly or continuously
                                                                     to evidence express informed consent.                     with intent to annoy, abuse, or harass
                                                                       (i) In any telemarketing transaction                    any person at the called number;
                                                                     involving preacquired account informa-                      (ii) Denying or interfering in any
                                                                     tion and a free-to-pay conversion fea-                    way, directly or indirectly, with a per-
                                                                     ture, the seller or telemarketer must:                    son’s right to be placed on any registry
                                                                       (A) obtain from the customer, at a                      of names and/or telephone numbers of
                                                                     minimum, the last four (4) digits of the                  persons who do not wish to receive out-
                                                                     account number to be charged;                             bound telephone calls established to
                                                                       (B) obtain from the customer his or                     comply with § 310.4(b)(1)(iii);
                                                                     her express agreement to be charged                         (iii) Initiating any outbound tele-
                                                                     for the goods or services and to be                       phone call to a person when:
                                                                     charged using the account number pur-                       (A) that person previously has stated
                                                                     suant to paragraph (a)(6)(i)(A) of this                   that he or she does not wish to receive
                                                                     section; and,                                             an outbound telephone call made by or
                                                                       (C) make and maintain an audio re-                      on behalf of the seller whose goods or
                                                                     cording of the entire telemarketing                       services are being offered or made on
                                                                     transaction.                                              behalf of the charitable organization
                                                                       (ii) In any other telemarketing trans-                  for which a charitable contribution is
                                                                     action involving preacquired account                      being solicited; or
                                                                     information not described in paragraph                      (B) that person’s telephone number is
                                                                     (a)(6)(i) of this section, the seller or                  on the ‘‘do-not-call’’ registry, main-
                                                                     telemarketer must:                                        tained by the Commission, of persons
                                                                       (A) at a minimum, identify the ac-                      who do not wish to receive outbound
                                                                     count to be charged with sufficient                       telephone calls to induce the purchase
                                                                     specificity for the customer or donor to                  of goods or services unless the seller
                                                                     understand what account will be                             (i) has obtained the express agree-
                                                                     charged; and                                              ment, in writing, of such person to
                                                                       (B) obtain from the customer or                         place calls to that person. Such written
                                                                     donor his or her express agreement to                     agreement shall clearly evidence such
                                                                     be charged for the goods or services                      person’s authorization that calls made
                                                                     and to be charged using the account                       by or on behalf of a specific party may
                                                                     number identified pursuant to para-                       be placed to that person, and shall in-
                                                                     graph (a)(6)(ii)(A) of this section; or                   clude the telephone number to which
                                                                       (7) Failing to transmit or cause to be                  the calls may be placed and the signa-
                                                                     transmitted the telephone number,                         ture 6 of that person; or
                                                                     and, when made available by the tele-                       (ii) has an established business rela-
                                                                     marketer’s carrier, the name of the                       tionship with such person, and that
                                                                     telemarketer, to any caller identifica-                   person has not stated that he or she
                                                                     tion service in use by a recipient of a                   does not wish to receive outbound tele-
                                                                     telemarketing call; provided that it                      phone       calls      under     paragraph
                                                                     shall not be a violation to substitute                    (b)(1)(iii)(A) of this section; or
                                                                     (for the name and phone number used                         (iv) Abandoning any outbound tele-
                                                                     in, or billed for, making the call) the                   phone call. An outbound telephone call
                                                                     name of the seller or charitable organi-                  is ‘‘abandoned’’ under this section if a
                                                                     zation on behalf of which a tele-                         person answers it and the telemarketer
                                                                     marketing call is placed, and the sell-
                                                                     er’s or charitable organization’s cus-                      6 For purposes of this Rule, the term ‘‘sig-
                                                                     tomer or donor service telephone num-                     nature’’ shall include an electronic or digital
                                                                     ber, which is answered during regular                     form of signature, to the extent that such
                                                                     business hours.                                           form of signature is recognized as a valid sig-
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                                                                       (b) Pattern of calls. (1) It is an abusive              nature under applicable federal law or state
                                                                     telemarketing act or practice and a                       contract law.

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                                                                     § 310.4                                                                 16 CFR Ch. I (1–1–09 Edition)

                                                                     does not connect the call to a sales rep-                 § 310.4(b)(1)(iii)(A) at any time during
                                                                     resentative within two (2) seconds of                     the message. The mechanism must:
                                                                     the person’s completed greeting.                             (1) Automatically add the number
                                                                        (v) Initiating any outbound telephone                  called to the seller’s entity-specific Do
                                                                     call that delivers a prerecorded mes-                     Not Call list;
                                                                     sage, other than a prerecorded message                       (2) Once invoked, immediately dis-
                                                                     permitted for compliance with the call                    connect the call; and
                                                                     abandonment           safe   harbor     in                   (3) Be available for use at any time
                                                                     § 310.4(b)(4)(iii), unless:
                                                                                                                               during the message; and
                                                                        (A) in any such call to induce the
                                                                     purchase of any good or service, the                         (B) In the case of a call that could be
                                                                     seller has obtained from the recipient                    answered by an answering machine or
                                                                     of the call an express agreement, in                      voicemail service, that the person
                                                                     writing, that:                                            called can use a toll-free telephone
                                                                        (i) The seller obtained only after a                   number to assert a Do Not Call request
                                                                     clear and conspicuous disclosure that                     pursuant to § 310.4(b)(1)(iii)(A). The
                                                                     the purpose of the agreement is to au-                    number provided must connect directly
                                                                     thorize the seller to place prerecorded                   to an automated interactive voice or
                                                                     calls to such person;                                     keypress-activated opt-out mechanism
                                                                        (ii) The seller obtained without re-                   that:
                                                                     quiring, directly or indirectly, that the                    (1) Automatically adds the number
                                                                     agreement be executed as a condition                      called to the seller’s entity-specific Do
                                                                     of purchasing any good or service;                        Not Call list;
                                                                        (iii) Evidences the willingness of the                    (2)    Immediately      thereafter dis-
                                                                     recipient of the call to receive calls                    connects the call; and
                                                                     that deliver prerecorded messages by                         (3) is accessible at any time through-
                                                                     or on behalf of a specific seller; and                    out the duration of the telemarketing
                                                                        (iv) Includes such person’s telephone                  campaign; and
                                                                     number and signature;7 and
                                                                                                                                  (iii) Complies with all other require-
                                                                        (B) In any such call to induce the
                                                                     purchase of any good or service, or to                    ments of this part and other applicable
                                                                     induce a charitable contribution from a                   federal and state laws.
                                                                     member of, or previous donor to, a non-                      (C) Any call that complies with all
                                                                     profit charitable organization on whose                   applicable requirements of this para-
                                                                     behalf the call is made, the seller or                    graph (v) shall not be deemed to violate
                                                                     telemarketer:                                             § 310.4(b)(1)(iv) of this part.
                                                                        (i) Allows the telephone to ring for at                   (D) This paragraph (v) shall not apply
                                                                     least fifteen (15) seconds or four (4)                    to any outbound telephone call that de-
                                                                     rings before disconnecting an unan-                       livers a prerecorded healthcare mes-
                                                                     swered call; and                                          sage made by, or on behalf of, a covered
                                                                        (ii) Within two (2) seconds after the                  entity or its business associate, as
                                                                     completed greeting of the person                          those terms are defined in the HIPAA
                                                                     called, plays a prerecorded message                       Privacy Rule, 45 CFR 160.103.
                                                                     that promptly provides the disclosures                       (2) It is an abusive telemarketing act
                                                                     required by § 310.4(d) or (e), followed                   or practice and a violation of this Rule
                                                                     immediately by a disclosure of one or                     for any person to sell, rent, lease, pur-
                                                                     both of the following:                                    chase, or use any list established to
                                                                        (A) In the case of a call that could be                comply with § 310.4(b)(1)(iii)(A), or
                                                                     answered in person by a consumer, that                    maintained by the Commission pursu-
                                                                     the person called can use an automated                    ant to § 310.4(b)(1)(iii)(B), for any pur-
                                                                     interactive voice and/or keypress-acti-                   pose except compliance with the provi-
                                                                     vated opt-out mechanism to assert a                       sions of this Rule or otherwise to pre-
                                                                     Do Not Call request pursuant to
                                                                                                                               vent telephone calls to telephone num-
                                                                                                                               bers on such lists.
                                                                       7 For purposes of this Rule, the term ‘‘sig-
                                                                                                                                  (3) A seller or telemarketer will not
                                                                     nature’’ shall include an electronic or digital
                                                                     form of signature, to the extent that such                be liable for violating § 310.4(b)(1)(ii)
                                                                     form of signature is recognized as a valid sig-           and (iii) if it can demonstrate that, as
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                                                                     nature under applicable federal law or state              part of the seller’s or telemarketer’s
                                                                     contract law.                                             routine business practice:

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                                                  Stipulated Judgment - DIRECTV                             Appendix A, page 29

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                                                                     Federal Trade Commission                                                                            § 310.4

                                                                        (i) It has established and imple-                      number of the seller on whose behalf
                                                                     mented written procedures to comply                       the call was placed 8; and
                                                                     with § 310.4(b)(1)(ii) and (iii);                            (iv) The seller or telemarketer, in ac-
                                                                        (ii) It has trained its personnel, and                 cordance with § 310.5(b)-(d), retains
                                                                     any entity assisting in its compliance,                   records establishing compliance with
                                                                     in the procedures established pursuant                    § 310.4(b)(4)(i)-(iii).
                                                                     to § 310.4(b)(3)(i);                                         (c) Calling time restrictions. Without
                                                                        (iii) The seller, or a telemarketer or                 the prior consent of a person, it is an
                                                                     another person acting on behalf of the                    abusive telemarketing act or practice
                                                                     seller or charitable organization, has                    and a violation of this Rule for a tele-
                                                                     maintained and recorded a list of tele-                   marketer to engage in outbound tele-
                                                                     phone numbers the seller or charitable                    phone calls to a person’s residence at
                                                                     organization may not contact, in com-                     any time other than between 8:00 a.m.
                                                                     pliance with § 310.4(b)(1)(iii)(A);                       and 9:00 p.m. local time at the called
                                                                        (iv) The seller or a telemarketer uses                 person’s location.
                                                                     a process to prevent telemarketing to                        (d) Required oral disclosures in the sale
                                                                     any telephone number on any list es-                      of goods or services. It is an abusive tele-
                                                                     tablished pursuant to § 310.4(b)(3)(iii) or               marketing act or practice and a viola-
                                                                     310.4(b)(1)(iii)(B), employing a version                  tion of this Rule for a telemarketer in
                                                                     of the ‘‘do-not-call’’ registry obtained                  an outbound telephone call or internal
                                                                     from the Commission no more than                          or external upsell to induce the pur-
                                                                     thirty-one (31) days prior to the date                    chase of goods or services to fail to dis-
                                                                     any call is made, and maintains                           close truthfully, promptly, and in a
                                                                     records documenting this process;                         clear and conspicuous manner to the
                                                                        (v) The seller or a telemarketer or                    person receiving the call, the following
                                                                     another person acting on behalf of the                    information:
                                                                     seller or charitable organization, mon-                      (1) The identity of the seller;
                                                                     itors and enforces compliance with the                       (2) That the purpose of the call is to
                                                                     procedures established pursuant to                        sell goods or services;
                                                                     § 310.4(b)(3)(i); and                                        (3) The nature of the goods or serv-
                                                                        (vi) Any subsequent call otherwise                     ices; and
                                                                     violating § 310.4(b)(1)(ii) or (iii) is the                  (4) That no purchase or payment is
                                                                     result of error.                                          necessary to be able to win a prize or
                                                                        (4) A seller or telemarketer will not                  participate in a prize promotion if a
                                                                     be liable for violating 310.4(b)(1)(iv) if:               prize promotion is offered and that any
                                                                        (i) The seller or telemarketer em-                     purchase or payment will not increase
                                                                     ploys technology that ensures aban-                       the person’s chances of winning. This
                                                                     donment of no more than three (3) per-                    disclosure must be made before or in
                                                                     cent of all calls answered by a person,                   conjunction with the description of the
                                                                     measured over the duration of a single                    prize to the person called. If requested
                                                                     calling campaign, if less than 30 days,                   by that person, the telemarketer must
                                                                     or separately over each successive 30-                    disclose the no-purchase/no-payment
                                                                     day period or portion thereof that the                    entry method for the prize promotion;
                                                                     campaign continues.                                       provided, however, that, in any internal
                                                                        (ii) The seller or telemarketer, for                   upsell for the sale of goods or services,
                                                                     each telemarketing call placed, allows                    the seller or telemarketer must pro-
                                                                     the telephone to ring for at least fif-                   vide the disclosures listed in this sec-
                                                                     teen (15) seconds or four (4) rings before                tion only to the extent that the infor-
                                                                     disconnecting an unanswered call;                         mation in the upsell differs from the
                                                                                                                               disclosures provided in the initial tele-
                                                                        (iii) Whenever a sales representative
                                                                                                                               marketing transaction.
                                                                     is not available to speak with the per-
                                                                     son answering the call within two (2)
                                                                                                                                 8 This provision does not affect any seller’s
                                                                     seconds after the person’s completed
                                                                                                                               or telemarketer’s obligation to comply with
                                                                     greeting, the seller or telemarketer
                                                                                                                               relevant state and federal laws, including
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                                                                     promptly plays a recorded message                         but not limited to the TCPA, 47 U.S.C. 227,
                                                                     that states the name and telephone                        and 47 CFR part 64.1200.

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                                                                     § 310.5                                                                 16 CFR Ch. I (1–1–09 Edition)

                                                                       (e) Required oral disclosures in chari-                 express agreement required to be pro-
                                                                     table solicitations. It is an abusive tele-               vided or received under this Rule.
                                                                     marketing act or practice and a viola-                       (b) A seller or telemarketer may
                                                                     tion of this Rule for a telemarketer, in                  keep the records required by § 310.5(a)
                                                                     an outbound telephone call to induce a                    in any form, and in the same manner,
                                                                     charitable contribution, to fail to dis-                  format, or place as they keep such
                                                                     close truthfully, promptly, and in a                      records in the ordinary course of busi-
                                                                     clear and conspicuous manner to the                       ness. Failure to keep all records re-
                                                                     person receiving the call, the following                  quired by § 310.5(a) shall be a violation
                                                                     information:                                              of this Rule.
                                                                       (1) The identity of the charitable or-                     (c) The seller and the telemarketer
                                                                     ganization on behalf of which the re-                     calling on behalf of the seller may, by
                                                                     quest is being made; and                                  written agreement, allocate responsi-
                                                                       (2) That the purpose of the call is to                  bility between themselves for the rec-
                                                                     solicit a charitable contribution.                        ordkeeping required by this Section.
                                                                     [68 FR 4669, Jan. 29, 2003, as amended at 69              When a seller and telemarketer have
                                                                     FR 16373, Mar. 29, 2004; 73 FR 51204, Aug. 29,            entered into such an agreement, the
                                                                     2008]                                                     terms of that agreement shall govern,
                                                                                                                               and the seller or telemarketer, as the
                                                                     § 310.5 Recordkeeping requirements.                       case may be, need not keep records
                                                                        (a) Any seller or telemarketer shall                   that duplicate those of the other. If the
                                                                     keep, for a period of 24 months from                      agreement is unclear as to who must
                                                                     the date the record is produced, the fol-                 maintain any required record(s), or if
                                                                     lowing records relating to its tele-                      no such agreement exists, the seller
                                                                     marketing activities:                                     shall be responsible for complying with
                                                                        (1) All substantially different adver-                 §§ 310.5(a)(1)-(3) and (5); the tele-
                                                                     tising,     brochures,     telemarketing                  marketer shall be responsible for com-
                                                                     scripts, and promotional materials;                       plying with § 310.5(a)(4).
                                                                        (2) The name and last known address                       (d) In the event of any dissolution or
                                                                     of each prize recipient and the prize                     termination of the seller’s or tele-
                                                                     awarded for prizes that are rep-                          marketer’s business, the principal of
                                                                     resented, directly or by implication, to                  that seller or telemarketer shall main-
                                                                     have a value of $25.00 or more;                           tain all records as required under this
                                                                        (3) The name and last known address                    section. In the event of any sale, as-
                                                                     of each customer, the goods or services                   signment, or other change in ownership
                                                                     purchased, the date such goods or serv-                   of the seller’s or telemarketer’s busi-
                                                                     ices were shipped or provided, and the                    ness, the successor business shall main-
                                                                     amount paid by the customer for the                       tain all records required under this sec-
                                                                     goods or services; 9                                      tion.
                                                                        (4) The name, any fictitious name                      [68 FR 4669, Jan. 29, 2003, as amended at 51204,
                                                                     used, the last known home address and                     Aug. 29, 2008]
                                                                     telephone number, and the job title(s)
                                                                     for all current and former employees                      § 310.6     Exemptions.
                                                                     directly involved in telephone sales or
                                                                                                                                  (a) Solicitations to induce charitable
                                                                     solicitations; provided, however, that if
                                                                                                                               contributions via outbound telephone
                                                                     the seller or telemarketer permits fic-
                                                                                                                               calls      are       not      covered   by
                                                                     titious names to be used by employees,
                                                                                                                               § 310.4(b)(1)(iii)(B) of this Rule.
                                                                     each fictitious name must be traceable
                                                                     to only one specific employee; and                           (b) The following acts or practices
                                                                        (5) All verifiable authorizations or                   are exempt from this Rule:
                                                                     records of express informed consent or                       (1) The sale of pay-per-call services
                                                                                                                               subject to the Commission’s Rule enti-
                                                                                                                               tled ‘‘Trade Regulation Rule Pursuant
                                                                       9 For offers of consumer credit products
                                                                                                                               to the Telephone Disclosure and Dis-
                                                                     subject to the Truth in Lending Act, 15
                                                                     U.S.C. 1601 et seq., and Regulation Z, 12 CFR
                                                                                                                               pute Resolution Act of 1992,’’ 16 CFR
                                                                     226, compliance with the recordkeeping re-                Part 308, provided, however, that this
                                                                     quirements under the Truth in Lending Act,                exemption does not apply to the re-
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                                                                     and Regulation Z, shall constitute compli-                quirements of § § 310.4(a)(1), (a)(7), (b),
                                                                     ance with § 310.5(a)(3) of this Rule.                     and (c);

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                                                                     Federal Trade Commission                                                                            § 310.8

                                                                        (2) The sale of franchises subject to                  exemption does not apply to calls initi-
                                                                     the Commission’s Rule entitled ‘‘Dis-                     ated by a customer in response to a di-
                                                                     closure Requirements and Prohibitions                     rect mail solicitation relating to prize
                                                                     Concerning Franchising and Business                       promotions, investment opportunities,
                                                                     Opportunity Ventures,’’ (‘‘Franchise                      business opportunities other than busi-
                                                                     Rule’’) 16 CFR Part 436, provided, how-                   ness arrangements covered by the
                                                                     ever, that this exemption does not                        Franchise Rule, or goods or services de-
                                                                     apply      to     the      requirements    of             scribed in §§ 310.3(a)(1)(vi) or 310.4(a)(2)-
                                                                     § § 310.4(a)(1), (a)(7), (b), and (c);                    (4); or to any instances of upselling in-
                                                                        (3) Telephone calls in which the sale                  cluded in such telephone calls; and
                                                                     of goods or services or charitable solic-                   (7) Telephone calls between a tele-
                                                                     itation is not completed, and payment                     marketer and any business, except
                                                                     or authorization of payment is not re-                    calls to induce the retail sale of non-
                                                                     quired, until after a face-to-face sales                  durable office or cleaning supplies; pro-
                                                                     or donation presentation by the seller                    vided, however, that § 310.4(b)(1)(iii)(B)
                                                                     or charitable organization, provided,                     and § 310.5 of this Rule shall not apply
                                                                     however, that this exemption does not                     to sellers or telemarketers of non-
                                                                     apply      to     the      requirements    of             durable office or cleaning supplies.
                                                                     § § 310.4(a)(1), (a)(7), (b), and (c);
                                                                        (4) Telephone calls initiated by a cus-                § 310.7 Actions by states and private
                                                                     tomer or donor that are not the result                         persons.
                                                                     of any solicitation by a seller, chari-                      (a) Any attorney general or other of-
                                                                     table organization, or telemarketer,                      ficer of a state authorized by the state
                                                                     provided, however, that this exemption                    to bring an action under the Tele-
                                                                     does not apply to any instances of                        marketing and Consumer Fraud and
                                                                     upselling included in such telephone                      Abuse Prevention Act, and any private
                                                                     calls;                                                    person who brings an action under that
                                                                        (5) Telephone calls initiated by a cus-                Act, shall serve written notice of its
                                                                     tomer or donor in response to an adver-                   action on the Commission, if feasible,
                                                                     tisement through any medium, other                        prior to its initiating an action under
                                                                     than direct mail solicitation, provided,                  this Rule. The notice shall be sent to
                                                                     however, that this exemption does not                     the Office of the Director, Bureau of
                                                                     apply to calls initiated by a customer                    Consumer Protection, Federal Trade
                                                                     or donor in response to an advertise-                     Commission, Washington, D.C. 20580,
                                                                     ment relating to investment opportuni-                    and shall include a copy of the state’s
                                                                     ties, business opportunities other than                   or private person’s complaint and any
                                                                     business arrangements covered by the                      other pleadings to be filed with the
                                                                     Franchise Rule, or advertisements in-                     court. If prior notice is not feasible,
                                                                     volving goods or services described in                    the state or private person shall serve
                                                                     § § 310.3(a)(1)(vi) or 310.4(a)(2)-(4); or to             the Commission with the required no-
                                                                     any instances of upselling included in                    tice immediately upon instituting its
                                                                     such telephone calls;                                     action.
                                                                        (6) Telephone calls initiated by a cus-                   (b) Nothing contained in this Section
                                                                     tomer or donor in response to a direct                    shall prohibit any attorney general or
                                                                     mail solicitation, including solicita-                    other authorized state official from
                                                                     tions via the U.S. Postal Service, fac-                   proceeding in state court on the basis
                                                                     simile transmission, electronic mail,                     of an alleged violation of any civil or
                                                                     and other similar methods of delivery                     criminal statute of such state.
                                                                     in which a solicitation is directed to
                                                                     specific address(es) or person(s), that                   § 310.8 Fee for access to the National
                                                                     clearly, conspicuously, and truthfully                         Do Not Call Registry.
                                                                     discloses all material information list-                     (a) It is a violation of this Rule for
                                                                     ed in § 310.3(a)(1) of this Rule, for any                 any seller to initiate, or cause any
                                                                     goods or services offered in the direct                   telemarketer to initiate, an outbound
                                                                     mail solicitation, and that contains no                   telephone call to any person whose
                                                                     material misrepresentation regarding                      telephone number is within a given
                                                                     any item contained in § 310.3(d) of this                  area code unless such seller, either di-
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                                                                     Rule for any requested charitable con-                    rectly or through another person, first
                                                                     tribution; provided, however, that this                   has paid the annual fee, required by

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                                                                     § 310.8                                                                 16 CFR Ch. I (1–1–09 Edition)

                                                                     § 310.8(c), for access to telephone num-                     (d) Each person who pays, either di-
                                                                     bers within that area code that are in-                   rectly or through another person, the
                                                                     cluded in the National Do Not Call                        annual fee set forth in § 310.8(c), each
                                                                     Registry maintained by the Commis-                        person excepted under § 310.8(c) from
                                                                     sion under § 310.4(b)(1)(iii)(B); provided,               paying the annual fee, and each person
                                                                     however, that such payment is not nec-                    excepted from paying an annual fee
                                                                     essary if the seller initiates, or causes                 under § 310.4(b)(1)(iii)(B), will be pro-
                                                                     a telemarketer to initiate, calls solely                  vided a unique account number that
                                                                     to         persons        pursuant       to               will allow that person to access the
                                                                     §§ 310.4(b)(1)(iii)(B)(i) or (ii), and the                registry data for the selected area
                                                                     seller does not access the National Do                    codes at any time for the twelve month
                                                                     Not Call Registry for any other pur-                      period beginning on the first day of the
                                                                     pose.                                                     month in which the person paid the fee
                                                                        (b) It is a violation of this Rule for                 (‘‘the annual period’’). To obtain access
                                                                     any telemarketer, on behalf of any sell-                  to additional area codes of data during
                                                                     er, to initiate an outbound telephone                     the first six months of the annual pe-
                                                                     call to any person whose telephone                        riod, each person required to pay the
                                                                     number is within a given area code un-                    fee under § 310.8(c) must first pay $54
                                                                     less that seller, either directly or                      for each additional area code of data
                                                                     through another person, first has paid                    not initially selected. To obtain access
                                                                     the annual fee, required by § 310.8(c),                   to additional area codes of data during
                                                                     for access to the telephone numbers
                                                                                                                               the second six months of the annual pe-
                                                                     within that area code that are included
                                                                                                                               riod, each person required to pay the
                                                                     in the National Do Not Call Registry;
                                                                                                                               fee under § 310.8(c) must first pay $27
                                                                     provided, however, that such payment
                                                                                                                               for each additional area code of data
                                                                     is not necessary if the seller initiates,
                                                                                                                               not initially selected. The payment of
                                                                     or causes a telemarketer to initiate,
                                                                     calls solely to persons pursuant to                       the additional fee will permit the per-
                                                                     §§ 310.4(b)(1)(iii)(B)(i) or (ii), and the                son to access the additional area codes
                                                                     seller does not access the National Do                    of data for the remainder of the annual
                                                                     Not Call Registry for any other pur-                      period.
                                                                     pose.                                                        (e) Access to the National Do Not
                                                                        (c) The annual fee, which must be                      Call Registry is limited to tele-
                                                                     paid by any person prior to obtaining                     marketers, sellers, others engaged in or
                                                                     access to the National Do Not Call                        causing others to engage in telephone
                                                                     Registry, is $54 for each area code of                    calls to consumers, service providers
                                                                     data accessed, up to a maximum of                         acting on behalf of such persons, and
                                                                     $14,850; provided, however, that there                    any government agency that has law
                                                                     shall be no charge to any person for ac-                  enforcement authority. Prior to access-
                                                                     cessing the first five area codes of data,                ing the National Do Not Call Registry,
                                                                     and provided further, that there shall be                 a person must provide the identifying
                                                                     no charge to any person engaging in or                    information required by the operator of
                                                                     causing others to engage in outbound                      the registry to collect the fee, and
                                                                     telephone calls to consumers and who                      must certify, under penalty of law,
                                                                     is accessing area codes of data in the                    that the person is accessing the reg-
                                                                     National Do Not Call Registry if the                      istry solely to comply with the provi-
                                                                     person is permitted to access, but is                     sions of this Rule or to otherwise pre-
                                                                     not required to access, the National Do                   vent telephone calls to telephone num-
                                                                     Not Call Registry under this Rule, 47                     bers on the registry. If the person is ac-
                                                                     CFR 64.1200, or any other Federal regu-                   cessing the registry on behalf of sell-
                                                                     lation or law. Any person accessing the                   ers, that person also must identify
                                                                     National Do Not Call Registry may not                     each of the sellers on whose behalf it is
                                                                     participate in any arrangement to                         accessing the registry, must provide
                                                                     share the cost of accessing the reg-                      each seller’s unique account number
                                                                     istry, including any arrangement with                     for access to the national registry, and
                                                                     any telemarketer or service provider to                   must certify, under penalty of law,
                                                                     divide the costs to access the registry                   that the sellers will be using the infor-
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                                                                     among various clients of that tele-                       mation gathered from the registry
                                                                     marketer or service provider.                             solely to comply with the provisions of

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                                                                     Federal Trade Commission                                                                            § 311.4

                                                                     this Rule or otherwise to prevent tele-                   sult of such use, has been contami-
                                                                     phone calls to telephone numbers on                       nated by physical or chemical impuri-
                                                                     the registry.                                             ties.
                                                                                                                                 (f) Re-refined oil means used oil from
                                                                     [68 FR 45144, July 31, 2003, as amended at 69
                                                                     FR 45585, July 30, 2004; 70 FR 43280, July 27,            which physical and chemical contami-
                                                                     2005; 71 FR 43054, July 31, 2006; 73 FR 43355,            nants acquired through use have been
                                                                     July 25, 2008]                                            removed.

                                                                     § 310.9 Severability.                                     § 311.2 Stayed or invalid parts.
                                                                        The provisions of this Rule are sepa-                     If any part of this rule is stayed or
                                                                     rate and severable from one another. If                   held invalid, the rest of it will remain
                                                                     any provision is stayed or determined                     in force.
                                                                     to be invalid, it is the Commission’s in-
                                                                     tention that the remaining provisions                     § 311.3 Preemption.
                                                                     shall continue in effect.                                    No law, regulation, or order of any
                                                                                                                               State or political subdivision thereof
                                                                     PART 311—TEST PROCEDURES AND                              may apply, or remain applicable, to
                                                                       LABELING STANDARDS FOR RE-                              any container of recycled oil, if such
                                                                                                                               law, regulation, or order requires any
                                                                       CYCLED OIL                                              container of recycled oil, which con-
                                                                                                                               tainer bears a label in accordance with
                                                                     Sec.
                                                                     311.1 Definitions.                                        the terms of § 311.5 of this part, to bear
                                                                     311.2 Stayed or invalid parts.                            any label with respect to the compara-
                                                                     311.3 Preemption.                                         tive characteristics of such recycled oil
                                                                     311.4 Testing.                                            with new oil that is not identical to
                                                                     311.5 Labeling.                                           that permitted by § 311.5 of this part.
                                                                     311.6 Prohibited acts.
                                                                       AUTHORITY: 42 U.S.C. 6363(d).                           § 311.4 Testing.
                                                                       SOURCE: 60 FR 55421, Oct. 31, 1995, unless                 To determine the substantial equiva-
                                                                     otherwise noted.                                          lency of processed used oil with new oil
                                                                                                                               for use as engine oil, manufacturers or
                                                                     § 311.1 Definitions.                                      their designees must use the test pro-
                                                                        As used in this part:                                  cedures that were reported to the Com-
                                                                        (a) Manufacturer means any person                      mission by the National Institutes of
                                                                     who re-refines or otherwise processes                     Standards and Technology (‘‘NIST’’) on
                                                                     used oil to remove physical or chem-                      July 27, 1995, entitled ‘‘Engine Oil Li-
                                                                     ical impurities acquired through use or                   censing and Certification System,’’
                                                                     who blends such re-refined or otherwise                   American Petroleum Institute (‘‘API’’),
                                                                     processed used oil with new oil or addi-                  Publication 1509, Thirteenth Edition,
                                                                     tives.                                                    January 1995. API Publication 1509,
                                                                        (b) New oil means any synthetic oil or                 Thirteenth Edition has been updated to
                                                                     oil that has been refined from crude oil                  API Publication 1509, Fifteenth Edi-
                                                                     and which has not been used and may                       tion, April 2002. API Publication 1509,
                                                                     or may not contain additives. Such                        Fifteenth Edition, April 2002, is incor-
                                                                     term does not include used oil or recy-                   porated by reference. This incorpora-
                                                                     cled oil.                                                 tion by reference is approved by the Di-
                                                                        (c) Processed used oil means re-refined                rector of the Federal Register in ac-
                                                                     or otherwise processed used oil or blend                  cordance with 5 U.S.C. 552(a) and 1 CFR
                                                                     of oil, consisting of such re-refined or                  part 51. Copies of the materials incor-
                                                                     otherwise processed used oil and new                      porated by reference may be obtained
                                                                     oil or additives.                                         from: API, 1220 L Street, NW., Wash-
                                                                        (d) Recycled oil means processed used                  ington, DC 20005. Copies may be in-
                                                                     oil that the manufacturer has deter-                      spected at the Federal Trade Commis-
                                                                     mined, pursuant to section 311.4 of this                  sion, Consumer Response Center, Room
                                                                     part, is substantially equivalent to new                  130, 600 Pennsylvania Avenue, NW.,
                                                                     oil for use as engine oil.                                Washington, DC 20580, or at the Na-
                                                                        (e) Used oil means any synthetic oil                   tional Archives and Records Adminis-
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                                                                     or oil that has been refined from crude                   tration (‘‘NARA’’). For information on
                                                                     oil, which has been used and, as a re-                    the availability of this material at

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